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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
                v.                             )      NO. 2:07-CR-25 PS
                                               )
                                               )
 ANGELA DIANE BENNETT and                      )
 JOSE JAVIER LOERA, JR.                        )

                                     OPINION AND ORDER

        Defendants Jose Javier Loera and Angela Diane Bennett have filed motions to dismiss

 their indictments. They allege that the present indictments, brought by the government two

 months after their original indictments were dismissed without prejudice, violate their

 constitutional and statutory rights to a speedy trial. The Court disagrees, and therefore denies

 Defendants’ Motions to Dismiss.

                                        I. BACKGROUND

        Defendants were indicted on May 4, 2005 in case number 2:05-CR-66 in the Northern

 District of Indiana. The case was subsequently continued several times for various reasons.1 On

 November 20, 2006, Defendants filed motions to dismiss their indictments based on violations of

 the Speedy Trial Act. Although their motions made a passing reference to their right to a speedy

 trial as guaranteed by the United States Constitution, they made no argument whatsoever

 regarding the alleged Constitutional violation.

        The Court found that an over four-month delay was improperly excluded from the

 computation under the Speedy Trial Act. Accordingly, it granted Defendants’ Motions to


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           See 12/4/2006 Order [DE 109] for a fuller description of the circumstances regarding
 the continuances.
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 Dismiss, but the dismissal was without prejudice. The Court noted at the time that Defendants’

 entire memorandum revolved only around the Speedy Trial Act violations. Therefore, any claim

 that the government violated Defendants’ Sixth Amendment right to a speedy trial was not

 before the Court.

        The government then re-indicted Defendants on February 7, 2007 in the current case,

 2:07-CR-25. On April 9, 2007, Defendants filed Motions to Dismiss their indictments with

 prejudice.

                                         II. DISCUSSION

        Defendants first argue that the new indictments violate the Speedy Trial Act. In

 particular, 18 U.S.C. § 3161(c)(1) mandates that a defendant’s trial commence within seventy

 days from the date the defendant has appeared before a judicial officer. Defendants argue that

 because they first appeared before a federal judicial officer in the first indictment on June 27,

 2005, this section of the Act has been violated. (Loera Mem. at 6.) This argument fails based

 on the explicit language in the statute. As § 3161(d)(1) states:

                If any indictment or information is dismissed upon motion of the
                defendant, . . . and thereafter . . . an information or indictment is
                filed charging such defendant with the same offense or an offense
                based on the same conduct or arising from the same criminal
                episode, the provisions of subsections (b) and (c) of this section
                shall be applicable with respect to such subsequent complaint,
                indictment, or information, as the case may be.

 Accordingly, when the first indictment is dismissed at the defendant’s request, the clock begins

 to run anew with the re-indictment. See United States v. Perez, No. 00 CR 211, 2002 WL

 1461504, at *2-*3 (N.D. Ill. July 3, 2002) (holding that the 70-day clock begins again when the

 court dismisses the initial indictment without prejudice pursuant to the Speedy Trial Act on


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 defendant’s motion) (citing United States v. Feldman, 761 F.2d 380, 388 (7th Cir. 1985) &

 United States v. Menzer, 29 F.3d 1223, 1227 (7th Cir. 1994)).

        Defendants’ next argument is that the delay that occurred in the previous indictment

 (2:05-CR-66) violated their Sixth Amendment right to a speedy trial. (Loera Mem. at 7.)

 Defendants’ trial is set to begin on April 23, 2007, roughly 75 days after the indictment was

 returned in this case. That is, of course, not a delay that amounts to a constitutional speedy trial

 violation. But Defendants make a different argument. They claim that the constitutional delay

 that we need to address is the time from return of the original indictment (in May of 2005) to the

 date of trial in this case. (Loera Mem. at 8.) But this argument conflates the two cases. The

 time for Defendants to complain about the constitutional delay in the first case was in that case.

 Yet Defendants never made the constitutional argument in that case. As discussed above,

 Defendants’ Motion to Dismiss the original indictment was based exclusively on the violation of

 the Speedy Trial Act. They made no argument under the constitutional right to a speedy trial.

 The right to a speedy trial under the Speedy Trial Act, and the right to a constitutional speedy

 trial, are distinct. United States v. White, 443 F.3d 582, 588 (7th Cir. 2006), cert. denied, 127 S.

 Ct. 302 (2006). Preserving one argument does not preserve the other.

        Therefore, by failing to properly raise or brief the constitutional argument in the previous

 case, Defendants have waived it. See Blise v. Antaramian, 409 F.3d 861, 866 n.3 (7th Cir. 2005)

 (“The failure to develop an argument constitutes a waiver.”); Kramer v. Banc of America

 Securities, LLC, 355 F.3d 961, 964 n.1 (7th Cir. 2004) (quoting United States v. Berkowitz, 927

 F.2d 1376, 1384 (7th Cir. 1991) (“We have repeatedly made clear that perfunctory and

 undeveloped arguments that are unsupported by pertinent authority, are waived (even where


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 those arguments raise constitutional issues.”)).

        In any event, the constitutional argument has no merit. To determine whether a

 constitutional speedy trial violation has occurred, we apply the following four-part test: (1)

 whether the delay before trial was uncommonly long; (2) whether the government or the criminal

 defendant was more to blame for that delay; (3) whether, in due course, the defendant asserted

 his right to a speedy trial; and (4) whether he suffered prejudice as the delay’s result. White, 443

 F.3d at 589. The first prong, length of delay before trial, is a “triggering mechanism: without a

 delay that is presumptively prejudicial, we need not examine the other factors.” Id. Generally, a

 delay approaching one year is presumptively prejudicial. Id. at 589-90; United States v. Ward,

 211 F.3d 356, 361 (7th Cir. 2000) (citing Doggett v. United States, 505 U.S. 647, 652 n.1

 (1992)). Here, we have a delay of over one year in the prior indictment. Defendants were

 indicted on May 4, 2005, and the Court dismissed the case on December 4, 2006. Such a delay

 before trial is uncommonly long, and therefore, this prong weighs against the government.

 Accordingly, we now apply the other factors in the analysis.

        Before doing so, however, the Court will dispose of Defendants’ remaining arguments

 regarding the length of the delay. Defendants assert that the time between the dismissal of the

 first indictment and the re-indictment (December 4, 2006 - February 7, 2007) should also be

 included for the speedy trial calculation. (Loera Mem. at 6-7.) But the Sixth Amendment only

 applies to the accused. United States v. Samples, 713 F.2d 298, 301 (7th Cir. 1983). Therefore,

 it “has no application prior to arrest or indictment.” United States v. Wallace, 326 F.3d 881, 885

 (7th Cir. 2003). When Defendants lost their status as the accused, they also “lost the Sixth

 Amendment’s guarantee of a prompt trial.” Samples, 713 F.2d at 301. Thus, the two months


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 between the dismissal and the re-indictment when Defendants were “legally and constitutionally

 in the same posture as though no charges had been made” do not count towards the constitutional

 delay.2 Id. (quoting United States v. MacDonald, 456 U.S. 1, 102 S. Ct. 1497, 1503 (1982)).

        Defendants also claim that the time between the filing of the state charges and the federal

 indictment (six months) should be included in the speedy trial analysis. (Loera Mem. at 8.)

 They are mistaken. The state arrest does not trigger the Sixth Amendment speedy trial right.

 See Wallace, 326 F.3d at 885 (“[A]rrest [ ] made by state authorities on a state charge . . . does

 not start the Sixth Amendment speedy trial clock for purposes of the subsequent federal

 charge.”) (citing United States v. Dickerson, 975 F.2d 1245, 1252 (7th Cir. 1992)). Thus, the six

 months preceding the federal indictment need not be included in our speedy trial discussion.3

            Next, the Court must examine who was more to blame for the delays. Both

 Defendants and the government filed several motions to continue the trial. For example, Loera’s

 attorney filed a motion to continue on August 22, 2005; the government filed one on October 26,

 2005, and Bennett’s attorney filed one on January 5, 2006. Defendants did not object to the

 continuance granted to the government. On January 25, 2006, the government filed a motion for

 an over four-month continuance on behalf of itself and both Defendants. Defendants did not


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           Courts have recognized that undue delay in re-indicting defendants can be a due
 process clause violation. See Samples, 713 F.2d at 301-02. Defendants have not made such a
 claim, nor could they. See id. at 302 (holding that a twenty-month period between indictments is
 constitutional).
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           Again, courts have recognized that delay prior to arrest or indictment may give rise to a
 due process claim under the Fifth Amendment. Wallace, 326 F.3d at 886. Defendants have not
 made any such argument nor have they made the required showing. See id. (to prove a due
 process violation, defendants must show that (1) the pre-indictment delay caused substantial
 prejudice; and (2) the delay was an intentional device to gain tactical advantage over the
 accused.)

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 oppose the Motion. Indeed, the parties had struck a deal. In exchange for their release from

 custody, Defendants agreed to go along with the continuance. Thus, they both were released

 from custody. The trial then was set for June 5, 2006. On May 31, 2006, the parties decided that

 they wanted a bench trial, which was then scheduled for June 6, 2006. After the pre-trial hearing

 on June 6, 2006, Defendants did an about face and decided that they wanted a jury trial after all.

 This prompted a continuance by Loera’s attorney on June 7, 2006. In that motion, Loera’s

 attorney asserted that the government had recently tendered documents that he needed to review.

 Subsequently, more motions to continue were filed on July 13, 2006 (by the government), on

 August 1, 2006 (by Bennett’s lawyer), and on November 8, 2006 (by the government). As is

 apparent, both sides filed several motions for continuances. Nevertheless, we find that this

 factor weighs slightly against the government, because some (although not all) of Defendants’

 continuances were requested because the government failed to provide discovery to Defendants.

 We weigh this factor lightly for another reason. The failure to turn over the discovery by the

 government was not because of bad faith, neglect or an attempt to gain a tactical advantage.

 Rather, the government was attempting to prevent the exposure of another ongoing investigation.

 See Doggett v. United States, 505 U.S. 647, 657 (1992) (noting that “‘different weights are to be

 assigned to different reasons’ for delay”) (citing Barker v. Wingo, 407 U.S. 514, 531 (1972))

 (alteration omitted).

        As for the third factor, Defendants never objected to the several motions to continue that

 were filed from August 2005 through November 2006, until November 2006. Indeed,

 Defendants represented in January 2006 that they consented to the over four-month continuance

 as it was conditioned upon their release from jail. Only ten months later did Defendants voice


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 their objection to this lengthy continuance and three other delays. As apparent, Defendants did

 not speak up and demand a quick resolution in the case. This factor therefore weighs heavily

 against Defendants. See White, 443 F.3d at 590-91 (finding that objection to continuance three

 months after delay does not weigh strongly in defendant’s favor when examining third prong);

 Ward, 211 F.3d at 361 (finding that the third factor did not weigh strongly in favor of the

 defendant when he only “asserted his right to a speedy trial after much of the alleged improper

 delay had occurred”).

        Finally, the fourth factor – involving prejudice to the defendant – also does not support a

 constitutional violation. We examine this prong “in light of the interests protected by the right:

 (1) to prevent oppressive pretrial incarceration; (2) to minimize anxiety and concern of the

 accused; and (3) to limit the possibility that defense will be impaired.” White, 443 F.3d at 591

 (citation and quotation marks omitted). Defendants were released from jail in January 2006, and

 remain on bond for their second indictment. Furthermore, neither Defendant has demonstrated

 anxiety or concern, and they concede that they cannot show prejudice to their ability to present a

 defense. (Loera Mem. at 9.) Plainly, Defendants have “suffered no demonstrable prejudice

 aside from incarceration.” White, 443 F.3d at 591; Ward, 211 F.3d at 361 (finding that simply

 the stress and anxiety of being incarcerated and the defendant’s anxiety and concern, without

 allegations that the delay impaired the defendant’s ability to present his defense, were

 “insufficient to tip the scales in [defendant’s] favor”); United States v. Scott, 850 F.2d 316, 321

 (7th Cir. 1988) (“[T]o show that the government’s delay prejudiced [defendant] in a

 constitutionally significant sense, [defendant] must offer evidence of anxiety beyond that which

 reasonably corresponds with a criminal prosecution, conviction, and imprisonment.”).


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 Accordingly, this factor also weighs against Defendants.

        After carefully balancing the four factors, the Court finds that Defendants’ Sixth

 Amendment rights to a speedy trial were not violated.

                                      III. CONCLUSION

        For the above reasons, Defendant Loera’s Motion to Dismiss [DE 23] and Defendant

 Bennett’s Motion to Dismiss [DE 25] are DENIED.

        SO ORDERED.

        ENTERED: April 18, 2007

                                                      s/ Philip P. Simon
                                                      PHILIP P. SIMON, JUDGE
                                                      UNITED STATES DISTRICT COURT




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